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                             ZOOMGOV CONNECTION INSTRUCTIONS



Important Policy Notice to the Bar, Public, and Media
Persons granted remote access to hearings and other proceedings held before the Court via ZoomGov,
CourtSolutions, CourtCall, or any other remote communication platform, are reminded that pursuant to
policy of the Judicial Conference of the United States and D. Conn. Bankr. L. R. 5073−1, it is absolutely
prohibited to record, photograph, rebroadcast or retransmit such proceedings (including streaming,
screen−shots or any other audio or video reproduction).
A violation of these prohibitions is subject to sanctions, including but not limited to restricted access to
future hearings, removal of court issued media credentials, or any other sanctions deemed necessary by
the Court.



             ZOOMGOV REMOTE HEARING INFORMATION FOR PARTICIPANTS

If you are the debtor, CM/ECF Filer, or CM/ECF User and will be participating in the above scheduled
hearing, at least THREE business days before the scheduled hearing, you must contact the Clerk's Office
for instructions to connect to the ZoomGov remote hearing by sending an email to the following court
email address: CalendarConnect_BPT@ctb.uscourts.gov. If you do not have an email address, you may
call the Clerk's Office at (203) 579-5808 for the instructions.

PUBLIC ACCESS TO REMOTE HEARING−LISTEN ONLY: If you are not a Remote Hearing
Participant but would like to listen to the hearing, please use the court hearing conference line at
1-877-336-1274 and input the Access Code: 1077800 when prompted.

For further instruction and best practices for appearing remotely utilizing ZoomGov, please find the
"Procedures and Instructions for Remote Appearances using ZoomGov" on our website at
www.ctb.uscourts.gov.
